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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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In re: :
: Chapter 11
ORCHARD ACQUISITION COMPANY, LLC, :

- Case No. 17-12914 (KG)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: :
: Chapter 11

THE J.G. WENTWORTH COMPANY, LLC, ;
- Case No. 17-12915 (KG)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: :

: Chapter 11
THE J.G. WENTWORTH COMPANY,
Case No. 17-12916 (KG)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re: :
: Chapter 11

J.G. WENTWORTH, LLC, :

: Case No. 17-12917 (KG)

Debtor.

Tax I.D. No. XX-XXXXXXX

 

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In re: :
: Chapter 11

JGW HOLDINGS, INC., :
: Case No. 17-12918 (KG)

Debtor. :
| Ref. Docket No. 204 , 217

Tax I.D. No. XX-XXXXXXX

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FINAL DECREE AND ORDER CLOSING THE CHAPTER 11 CASES AND
TERMINATING CLAIMS AND NOTICING SERVICES

Upon the motion (the “Motion”)' of the Reorganized Debtors for entry of a final decree
and order (this “Final Decree and Order”) closing the Chapter 11 Cases and terminating the
Claims and Noticing Services provided by Prime Clerk in connection with the Chapter 11 Cases
pursuant to section 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and Local Rule
3022-1, pursuant to the terms set forth in the Motion and all pleadings related thereto; and it
appearing that the Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334
and the Amended Standing Order of Reference from the United States District Court for the
District of Delaware, dated as of February 29, 2012; and it appearing that this is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter this Final Decree and
Order consistent with Article III of the United States Constitution; and it appearing that venue of
this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and
appropriate notice of and the opportunity for a hearing on the Motion having been given; and the
relief requested in the Motion being in the best interests of the Debtors’ estates, their creditors

and other parties in interest; and this Court having determined that the legal and factual bases set

 

I Capitalized terms not otherwise defined herein shal! have the meanings ascribed to them in the Motion.

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forth in the Motion establish just cause for the relief granted herein; and after due deliberation
and sufficient cause appearing therefor, it is hereby ORDERED that:

1. The Motion is GRANTED as set forth herein.

2. The Chapter 11 Cases of the following Debtors and Reorganized Debtors
are hereby CLOSED pursuant to section 350(a) of the Bankruptcy Code, effective as of the date
of entry of this Final Decree and Order: (i) Orchard Acquisition Company, LLC, Case No. 17-
12914; (ii) The J.G. Wentworth Company, LLC, Case No. 17-12915; (iii) The J.G. Wentworth
Company, Case No. 17-12916; (iv) J.G. Wentworth, LLC, Case No 17-12917; and (v) JGW
Holdings, Inc., Case No. 17-12918.

3. A docket entry shall be made in each of the Chapter 11 Cases reflecting
the entry of this Final Decree and Order.

4. Entry of this Final Decree and Order is without prejudice to the rights of
any Reorganized Debtor or other party in interest to seek to reopen any of the Chapter 11 Cases
for cause pursuant to section 350(b) of the Bankruptcy Code.

5. Notwithstanding anything to the contrary, the terms and conditions of this
Final Decree and Order shall be immediately effective and enforceable upon its entry.

6. Subject to the performance of any obligations of Prime Clerk pursuant to this
Final Decree and Order, Prime Clerk’s services as claims and noticing agent for the Chapter 11 Cases
are hereby terminated, and Prime Clerk shall be deemed formally discharged as claims and noticing
agent for the Chapter 11 Cases without further order of the Court.

7. Pursuant to Local Rule 2002-1(f)(ix), within twenty-eight (28) days of the
entry of this Final Decree and Order, Prime Clerk shall: (i) forward to the Clerk of the Court an
electronic version of all imaged claims; (ii) upload the creditor mailing list into CM/ECF; and

(iii) docket a final claims register containing the claims filed in the Chapter 11 Cases. Prime Clerk

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shall further box and transport all original claims to the Philadelphia Federal Records Center, 14470
Townsend Road, Philadelphia, Pennsylvania 19154, and docket a completed SF-135 Form indicating

the accession and location numbers of the archived claims.

8. Unless otherwise agreed by the U.S. Trustee, within thirty (30) days of the
entry of this Final Decree and Order, the Reorganized Debtors shall (a) file with the Court and
provide to the U.S. Trustee all outstanding post-confirmation reports, and (b) pay all fees due and
payable pursuant to 28 U.S.C. § 1930.

9. The Reorganized Debtors and their agents are authorized to take all
actions necessary to effectuate the relief granted pursuant to this Final Decree and Order in
accordance with the Motion.

10. The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation and/or enforcement of this Final Decree and

 

Order.
Dated: Gre IO 2018 Xva lowe
ilmington, Delaware KEVIN GROSS

UNITED STATES BANKRUPTCY JUDGE

 

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